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                         UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 1:20-cv-23013-BB

  CHLOE TSAKIRIS ALSTON,

         Plaintiff,

  v.
  www.calculator.com; Unknown Registrant
  A/K/A Ruth Yakobzon; Stands4 LTD; and
  GoDaddy.com, LLC,

        Defendants.
  ____________________________________/


  PLAINTIFF’S RESPONSE TO DEFENDANT’S EXPEDITED MOTION TO DISSOLVE
                    TEMPORARY RESTRAINING ORDER

         The Plaintiff, CHLOE TSAKIRIS ALSTON (“Chloe” or “Chloe Alston”), by and

  through undersigned counsel and pursuant to Fed. R. Civ. P. 65, files this Response to Defendant

  Stands4, LTD’s Expedited Motion to Dissolve Temporary Restraining Order (the “Motion to

  Dissolve”), and states as follows:

                                        INTRODUCTION

         Despite Defendant Stands4, LTD’s assertions that they are good faith buyers of the

  calculator.com domain name (the “Domain Name”), the fact remains that they are knowingly using

  stolen property and trading on Plaintiff’s goodwill. Plaintiff has demonstrated that she has been

  the legitimate owner of the Domain Name and the calculator.com trademark since 1996, and has

  submitted substantial evidence of her use of the same for approximately 24 years. Defendant only

  came to own the Domain Name in the last month.

         Defendant claims to have conducted substantial due diligence in connection with its

  purchase, but provides no evidence whatsoever, and appears to have relied to its detriment on the
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  representations of the domain name auction website representatives. Additionally, Defendant

  appears to have relied on the same “evidence” of ownership that was marked as suspicious by a

  previous third party purchaser of the Domain Name who was able to quickly detect the fraud.

          This Court does have personal jurisdiction over the Defendant due to the business targeted

  directly to website visitors in this State.

  I.      Plaintiff’s Application Satisfies the Requirements of FRCP 65

          A.   The Requirements of Fed. R. Civ. P. 65(b)(1)(A)

          Plaintiff stands by her assertion that irreparable damage and loss would have occurred

  had this Court denied the requested ex parte relief. As indicated in Plaintiff’s supporting

  declaration, the domain could have easily been transferred to a different account or a different

  registrar within minutes had notice been provided to the Defendant. [Docket Entry (“D.E.”) 6 at

  ¶ 28]. Additionally, Plaintiff had reason to believe that Defendant Stands4, LTD was working

  with the Defendant Unknown Registrant. This is evident by the FBI complaint filed by Plaintiff

  on July 3, 2020 after other attempts to recover the stolen domain name proved unsuccessful. See

  D.E. 18-1, Second Declaration of Nicholas Tsakiris Alston, at ¶ 10; D.E. 18-6, Exhibit E.

          Additionally, monetary relief is not sufficient to cure the harm done to Plaintiff, as the

  theft of her website would result in an incalculable loss of future benefits. [D.E. 6 at ¶ 19-25].

  Indeed, Plaintiff and her family rely upon the consistent income earned from operation of the

  website, and it would be wholly unjust to permit Defendants to benefit from the illegal theft of

  the Domain Name. Id. Importantly, Plaintiffs loss is more than monetary, but also a loss of the

  ability to use and control their trademark in the “calculator.com” name. When a plaintiff makes a

  prima facie showing of trademark infringement, irreparable harm is ordinarily presumed. See

  McDonald’s Corp. v. Robertson, 147 F. 3d 1301, 1310 (11th Cir. 1998); Foxworthy v. Custom
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  Tees, Inc., 879 F. Supp. 1200, 1219 (N.D.Ga. 1995); E. Remy Martin & Co. v. Shaw-Ross Int’l

  Imports, 756 F.2d 1525, 1530 (11th Cir. 1985); Power Test Petroleum Distributors v. Calcu Gas,

  754 F.2d 91, 95 (2d Cir. 1985) (Irreparable harm exists in a trademark case when the moving

  party “shows that it will lose control over the reputation of its trademark pending trial.”).

         B.    The Requirements of Fed. R. Civ. P. 65(b)(1)(B)

         As Defendant correctly states, Fed. R. Civ. P. 65(b)(1)(B) permits certification that states

  the reasons why notice should not be required. Plaintiff satisfied this requirement by indicating

  the quick and easy nature in which a domain name could be transferred once notice is received.

  The language regarding the alleged lock on the Domain Name mentioned by Defendant [D.E. 10,

  pg. 7] fails to indicate whether these restrictions were placed by the registrar or whether they

  were implemented by the owner, in which case the alleged lock could be quickly lifted, and

  therefore does not provide adequate protection. Florida case law on the subject confirms that

  frauds committed over the Internet may be subject to ex parte relief, as was sought by Plaintiff.

  See, e.g., Dell, Inc. v. BelgiumDomains, LLC, Case No. 07-22674 WL 6862341, at *2 (S.D. Fla.

  Nov. 21, 2007) (finding that ex parte relief is acceptable where Defendants’ scheme “is in

  electronic format and subject to quick, easy, untraceable destruction by Defendants.”).

         Additionally, the mechanism for locking the domain name provided by the Anti-

  Cybersquatting Consumer Protect Act (the “ACPA”) is not the exclusive means of preserving the

  status quo, nor is it a mandatory requirement for a Plaintiff to pursue this avenue of protection.

  See 15 U.S.C. 1125(d)(2)(D)(i)(II). The procedure offered under the ACPA is entirely dependent

  on the voluntary compliance of the domain name registrar, leaving the Plaintiff’s valuable

  Domain Name in a vulnerable state until compliance is obtained. Unless and until an order is

  entered by the Court, there is no security or assurance that the domain name will be prevented
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  from further transfers, potentially rendering it beyond the Court’s reach and eliminating any

  potential for meaningful relief. Importantly, locking the domain name to prevent further transfers

  does not solve the problem of the continuous loss of revenue and search engine rankings being

  suffered by the Plaintiff on a daily basis.

  II.     Plaintiff is Entitled to Injunctive Relief

         A.    This Court Has Personal Jurisdiction Over the Defendant

         A complaint bringing claims against a nonresident defendant must allege "sufficient facts

  to make out a prima facie case of jurisdiction." United Techs. Corp. v. Mazer, 556 F.3d 1260,

  1274 (11th Cir. 2009). The Court must accept the allegations in the complaint as true where they

  are uncontroverted by the defendant's affidavits and resolve all reasonable inferences in the

  plaintiff's favor. Consol. Dev. Corp. v. Sherritt, Inc., 216 F.3d 1286, 1291 (11th Cir. 2000). "The

  plaintiff bears the burden of proving `by affidavit the basis upon which jurisdiction may be

  obtained' only if the defendant challenging jurisdiction files ‘affidavits in support of his

  position.'" Posner v. Essex Ins. Co., 178 F.3d 1209, 1214 (11th Cir. 1999) (quoting Venetian

  Salami Co. v. Parthenais, 554 So. 2d 499, 502 (Fla. 1989)).

         i.      Jurisdiction under Florida’s Long-Arm Statute:

         Under Florida’s long-arm statute, a court can exercise general personal jurisdiction over a

  defendant that engages in “substantial and not isolated activity” in Florida. Schulman v. Inst. For

  Shipboard Educ., 624 F. App’x 1002, 1005 (11th Cir. 2015). Once general personal jurisdiction

  is established, a Court must look at specific personal jurisdiction as set out in Florida’s long-arm

  statute, Section 48.193. Thereafter, the Court must determine whether the Court established

  sufficient ‘minimum contacts’ within the State of Florida, and whether the exercise of personal
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  jurisdiction over a defendant is consistent with “fair play and substantial justice.” See

  International Shoe v. State of Washington, 326 U.S. 310, 316 (1945).


                a. Defendant Stands4 LTD Engages in Substantial and not Isolated Activity

                    in Florida.


          The Defendant Stands4 LTD’s business activity in the State of Florida is substantial and

  not isolated. In his declaration on behalf of Stands4 LTD (the “Stands4 Declaration”), Yigal Ben

  Efraim does not deny that Florida is one of the principal sources of visitors and revenues. [D.E.

  10-1]. Rather, the Stands4 Declaration vaguely asserts having “no contact with—and no

  presence—in the State of Florida,” and makes assertions that seem to ignore the nature of online

  business such as “[n]o representative of Stands4 has travelled to the State of Florida.” [D.E. 10-1

  at ¶¶ 5-6].

          However, Ben Efraim then admits that Stands4 is “serving millions of unique visitors”

  through domain names such as “Grammar.com” and “Lyrics.com”. [D.E. 10-1 at ¶ 3]. These

  websites conduct substantial and not isolated activity in the State of Florida, targeting Floridians

  with tailored ads like “Florida Seniors on Medicare are Getting a Big PayDay,” observed in

  lyrics.com. See D.E. 18-1 at ¶ 8; D.E. 18-4, Exhibit C. Similar geo-targeting was observed in the

  Calculator.com domain once under Stands4 LTD management, with targeting directed

  specifically at the large volume of Florida based visitors with geo-targeted attention-grabbing

  headlines such as:

          -“Miami Beach, FL: Did you know?”

          - “Congress Increases Amount Seniors can Get from Reverse Mortgages; Floridians: Tap

          your Age”

          - “Naples Resort Communities & Serene Lifestyle Await”
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                 See D.E. 18-1 at ¶ 7; D.E. 18-3, Exhibit B.

         With the “millions” of unique visitors and revenue generating advertisements targeting

  Floridians, it is unlikely that Stands4 LTD does not conduct substantial business in the State of

  Florida, and it is even more unlikely that the Defendant Stands4 LTD has “no contact—and no

  presence—in the State of Florida,” and it is disingenuous to address whether or not Stand4 LTD

  representatives “travel” to Florida.

                b. The Court has Specific Personal Jurisdiction over Stands4 LTD.

         Section 48.193(1)(a), Florida Statutes, provides for personal jurisdiction over defendants

  who:

         are "carrying on a business or a business venture" or have an office or agency in Florida.
         In order to establish that a defendant was carrying on a business or business venture in
         the state, either itself or through an agent, "[t]he activities of the [defendant] sought to be
         served . . . must be considered collectively and show a general course of business activity
         in the State for pecuniary benefit."

  See Sculptchair, Inc. v. Century Arts, Ltd., 94 F.3d 623, 627 (11th Cir. 1996) (citing Dinsmore v.

  Martin Blumenthal Associates, Inc., 314 So.2d 561, 564 (Fla. 1975)).

         Florida has been, and has consistently remained, one of the main sources of online traffic

  and website revenue for the calculator.com domain over the years, with substantial traffic

  continuing on through the months leading to the unauthorized transfer. [D.E. 6 at ¶ 8]. It is

  unlikely that the flow of Florida website traffic stopped when Stands4 LTD obtained possession

  of the Domain Name. For instance, on July 29, 2020 alone, calculator.com had over 3,400 users

  from Florida. [D.E. 18-1 at ¶ 9; D.E. 18-5, Exhibit D]. The action arises out of the Defendant’s

  activity in the State of Florida and are conducted for pecuniary benefit within the State of Florida

  while depriving the Plaintiff of income, website traffic and website visitors coming from the
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  State of Florida via the calculator.com Domain Name, and the right to use and control their

  trademark in the “calculator.com” name. [D.E. 18-1 at ¶ 9].

          ii.     Minimum Contacts are Satisfied

  In conducting its “minimum contacts” analysis, the court applies the following review:

          First, the contacts must be related to the plaintiff's cause of action or have given rise to it.
          Second, the contacts must involve some purposeful availment of the privilege of
          conducting activities within the forum, thereby invoking the benefits and protections of
          its laws. Finally, the defendant's contacts within the forum state must be such that she
          should reasonably anticipate being haled into court there.

  Francosteel Corp. v. M/V Charm, 19 F.3d 624, 627 (11th Cir. 1994); Sculptchair, Inc. v. Century

  Arts, Ltd., 94 F.3d 623, 631 (11th Cir. 1996).

          Personal jurisdiction is consistent with due process where the non-resident defendant has

  established “certain minimum contacts with the forum such that the maintenance of the suit does

  not offend traditional notions of fair play and substantial justice.” Helicopteros Nacionales de

  Colombia, S.A. v. Hall, 466 U.S. 408, 414, 104 S.Ct. 1868, 1872, 80 L.Eed. 2d 404 (1984)

  (internal quotation marks omitted) (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 316, 66,

  S.Ct. 154, 158, 90 L.Ed. 95 (1945)).

          By virtue of actively promoting targeted advertising to persons in the State of Florida,

  and thereby generating revenue within the State of Florida, including through calculator.com, the

  Defendant Stand4 LTD purposefully avails itself of the privilege of conducting business

  activities in this State and in this district, thereby invoking the benefits and protections of its

  laws. The defendant Stand4 LTD’s activity and contacts in this State are such that Stand4 LTD

  should reasonably anticipate being haled into court in this forum. For instance, the Defendant

  Stands4 LTD could be subject to a lawsuit stemming from its various advertisings that are

  targeted to and displayed to Floridians in large volumes. Further, based on the various facts
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  outlined herein concerning the activity within this State and forum, the Defendant Stands4

  LTD’s contacts with this forum are such that the maintenance of the suit in this jurisdiction does

  not offend the traditional notions of fair play and substantial justice.

         It is further worth noting that, on July 29, 2020, calculator.com generated $655 in

  revenue from the United States. [D.E. 18-1 at ¶ 9]. Additionally, calculator.com had 225,025

  page views from the United States on July 29, 2020. In contrast, calculator.com had 57 visitors

  from Israel that same date. Id. Therefore, it can hardly be argued that Stands4 LTD did not make

  contacts with the United States, including one of its most significant markets, Florida, directly

  via calculator.com as well as the various additional Stands4 domains. As further outlined herein,

  the Defendant Stand4 LTD’s contacts with this forum are such that the maintenance of the suit in

  this jurisdiction does not offend the traditional notions of fair play and substantial justice.

         iii.    Defendant is Subject to Jurisdiction Pursuant to F.R.C.P. 4(k)(2)

         Stands4 LTD is further subject to personal jurisdiction of this Court based upon the

  claims which ‘arise under federal law’ within the meaning of Rule 4(k)(2) of the Federal Rules

  of Civil Procedure. Under Federal Rule of Civil Procedure 4(k)(2), in cases where a defendant is

  not otherwise subject to general jurisdiction in state courts, a district court can ‘aggregate a

  foreign defendant’s nationwide contacts to allow for service of process provided that two

  conditions are met: (1) plaintiff’s claims must ‘arise under federal law,’ and (2) the exercise of

  jurisdiction must ‘be consistent with the Constitution and laws of the United States.” See

  Oldfield v. Pueblo De Bahia Lora, SA, 558 F.3d 1210 (11th Cir. 2009) (citing Consol. Dev.

  Corp. v. Sherritt, Inc., 216 F.3d 1286, 1291 (11th Cir. 2000).

         Plaintiff’s claims arise under federal law. Specifically, Plaintiff has sought relief pursuant

  to the federal Anti-Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d). As set forth in
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  more detail below, Defendant Stands4 LTD is using the calculator.com domain name with a bad

  faith intent to profit from Plaintiff’s trademark in the calculator.com name. Stands4 LTD’s

  violation of Plaintiff’s trademark rights in the “calculator.com” mark is evident in their outright

  effort to trade on Plaintiff’s goodwill in the mark by claiming within its calculator.com site as

  follows:

                 “Old almost as the Internet itself Calculator.com's mission statement is to be the

                 world's largest and most comprehensive collection of online calculators on the

                 Web.”

                 [D.E. 18-1 at ¶ 3; D.E. 18-2, Exhibit A].

         The exercise of jurisdiction is “consistent with the Constitution and laws of the United

  States” because the Defendant has sufficient minimum contacts with the State of Florida, as

  discussed more fully above.

  B.   Plaintiff Has Satisfied the Substantive Criteria for Injunctive Relief

         Defendant states that Plaintiff cannot satisfy the substantive criteria for injunctive relief

  by arguing (i) that Plaintiff is not likely to succeed on the merits under the ACPA because she

  “cannot show that Stands4 registers, traffics in, or uses the calculator.com domain name with a

  bad faith intent to profit from Plaintiff’s mark,” and (ii) that Plaintiff cannot show irreparable

  harm. Plaintiff has provided substantial evidence on both points.

         Defendant claims to be a good faith buyer of the Domain Name by stating that “Stands4

  conducted significant due diligence to confirm that the domain name seller identified as Chloe

  Alston was indeed the lawful owner of the domain name.” [D.E. 10, pg. 11]. According to the

  declaration of Yigal Ben Efraim, he reviewed “the email and physical addresses disclosed on the

  current and historical WHOIS records for the domain name and the content on the
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  calculator.com website itself and comparison with the information provided by the seller.” [D.E.

  10-1 at ¶ 9].

          Defendant provides no evidence of any due diligence conducted by Defendant. If

  Defendant had conducted due diligence, the fraud would have been apparent. As set forth in

  significant detail in Plaintiff’s Motion for Temporary Restraining Order, the Defendant

  Unknown Registrant used an email address impersonating the plaintiff, along with a false

  identification and fraudulent utility bill to induce Network Solutions to swap the Plaintiff’s

  contact details out with that of the Defendant Unknown Registrants. [D.E. 5 at ¶¶ 22-26].

  Additionally, the historical WHOIS records enabled previous potential buyers to easily locate

  and contact the true owner of the Domain Name when Defendant Unknown Registrant attempted

  to sell the Domain Name in 2018. [D.E. 5 at ¶ 24; D.E. 5-8, Exhibit H]. Notably, the false

  physical address listed by Defendant Unknown Registrant was an obvious red flag which

  enabled the previous potential buyers to detect the fraud. See D.E. 5-7; D.E. 5-8].

          Defendant further claims that Dan.com informed Defendant that it conducted a “review

  of Chloe Alston’s U.S. issued passport, review of a utility bill provided by Chloe Alston, and

  review of current and historical WHOIS records for the domain name to confirm that all data

  corresponded to the data provided by seller.” [D.E. 10-1, ¶ 11]. This statement is inadmissible

  hearsay. Moreover, Defendant presents no evidence that such due diligence occurred.

  Nevertheless, it appears that Defendant has relied on these representations rather than conducting

  its own due diligence.

          Even assuming, arguendo, that Defendant purchased the Domain Name in good faith, the

  Defendant is openly and plainly trading on Plaintiff’s goodwill, and appears to be claiming

  ownership of the calculator.com trademark dating back to the early years of the Internet, despite
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  the fact that Defendant only purchased the Domain Name in the last month. [D.E. 18-1 at ¶ 3;

  D.E. 18-2]. This fact alone is sufficient to find that Defendant is using the calculator.com domain

  name with a bad faith intent to profit from Plaintiff’s mark. See 15 U.S.C. § 1125(d)(1).

         Moreover, Defendant has now been put on notice that the Domain Name is stolen

  property. The continued use and operation of their website located at the stolen Domain Name

  amounts to the trafficking, by Stands4 LTD, in stolen property, with a bad faith intent to profit

  from Plaintiff’s mark and valuable online traffic. The Plaintiff has a high likelihood of success

  on the merits due to this clear indication of bad faith. (See, e.g. Section 772.11, Florida Statutes,

  entitling a claimant to civil remedies for threefold the damages actually sustained in connection

  with violations of various criminal statutes, including 812.019, which prohibits a party from

  trafficking in or endeavoring to traffic in stolen property.).

         Additionally, Plaintiff has suffered, and will continue to suffer irreparable harm if the

  injunction is dissolved. Although the Domain Name was stolen from Plaintiff in 2018, she

  quickly prevented the attempted transfer of the Domain Name by Defendant Unknown

  Registrant at that time, and has enjoyed the use and benefit of the Domain Name and website

  operated thereat ever since—that is, until the Domain Name was recently transferred to

  Defendant Stands4, LTD. [D.E. 5 at ¶¶ 16-17]. Plaintiff has been completely unaware that the

  contact and ownership details within her Network Solution account were not reverted back to her

  correct email address until the DNS was updated on June 19, 2020 and the Domain Name began

  to direct visitors to the website created by Defendant. Id. The value allegedly created by the

  quality of Defendant’s website is inapposite, given the fact that the value is created for the

  benefit of Defendant, not the Plaintiff. Since the theft and transfer to Defendant Stands4, LTD,

  Plaintiff has lost all income and revenue with respect to the Domain Name, as well as the
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  invaluable right to use and control the use of their trademark. As previously stated, irreparable

  harm is ordinarily presumed when a plaintiff makes a prima facie showing of trademark

  infringement. See, e.g., McDonald’s Corp. v. Robertson, 147 F. 3d 1301, 1310 (11th Cir. 1998).

         Finally, Plaintiff has indicated that Plaintiff herself might be engaging in fraud. [D.E. 10-

  1 at ¶ 10]. This is absurd and entirely unsupported by any ultimate facts or evidence whatsoever.

  Fraud must be pled with particularly. Rule 9(b), Federal Rules of Civil Procedure; see also, e.g.,

  Tellabs, Inc. v. Major Issues & Rights, Ltd., 551 U.S. 308 (providing that fraud claims are

  governed by the heightened pleading standard set forth in Rule 9(b), Federal Rules of Civil

  Procedure). Like the other claims raised by Defendant, there is no factual or evidentiary support.

  On the other hand, Plaintiff has provided ample evidence to prove that she was the true owner of

  the Domain Name and the calculator.com trademark, and was the victim of a fraud by Unknown

  Registrant, which fraud has been furthered by Defendant Stands4, LTD.

                                               CONCLUSION

         Based on the foregoing, the Plaintiff respectfully requests this Honorable Court deny the

  Defendant’s Motion to Dissolve the Temporary Restraining Order, enter a preliminary injunction

  in favor of the Plaintiff, and provide such other and further relief as this Court deems just and

  appropriate under the circumstances.


  Dated: July 30, 2020
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         Respectfully submitted,

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                                   CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing was served on this

  30th day of July, 2020 via e-service to:

         Lydecker Diaz, attn.: Joan Carlos Wizel, jcw@lydeckerdiaz.com;

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                                                           /s/ Rafael Recalde
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